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 6

 7

 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10 STRIKE 3 HOLDINGS, LLC,                          Case Number:
11                      Plaintiff,                  COMPLAINT FOR COPYRIGHT
                                                    INFRINGEMENT - DEMAND FOR
12 vs.                                              JURY TRIAL
13 JOHN DOE subscriber assigned IP
     address 71.92.216.147,
14
                        Defendant.
15

16

17         Plaintiff, Strike 3 Holdings, LLC (“Strike 3” or “Plaintiff”), brings this
18 complaint against Defendant, John Doe subscriber assigned IP address

19 71.92.216.147 (“Defendant”), and alleges as follows:

20                                       Introduction
21         1.    This is a case about the ongoing and wholesale copyright
22 infringement of Plaintiff’s motion pictures by Defendant, currently known only by

23 an IP address.

24         2.    Plaintiff is the owner of award winning, critically acclaimed adult
25 motion pictures.

26         3.    Strike 3’s motion pictures are distributed through the Blacked, Tushy,
27 Vixen, Tushy Raw and Blacked Raw adult websites and DVDs. With millions of

28 unique visitors to its websites each month, the brands are famous for redefining
                                                1

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 1 adult content, creating high-end, artistic, and performer-inspiring motion pictures

 2 produced with a Hollywood style budget and quality.

 3          4.   Defendant is, in a word, stealing these works on a grand scale. Using
 4 the BitTorrent protocol, Defendant is committing rampant and wholesale

 5 copyright infringement by downloading Strike 3’s motion pictures as well as

 6 distributing them to others. Defendant did not infringe just one or two of Strike

 7 3’s motion pictures, rather, Defendant has been recorded infringing 111 movies

 8 over an extended period of time.

 9          5.   Although Defendant attempted to hide this theft by infringing
10 Plaintiff’s content anonymously, Defendant’s Internet Service Provider (“ISP”),

11 Spectrum, can identify Defendant through his or her IP address 71.92.216.147.

12          6.   In an effort to conserve Federal judicial resources, Strike 3 originally
13 moved to discover Defendant’s identity utilizing a state court procedure in Florida

14 where Strike 3’s infringement detection servers are located. Defendant objected

15 asserting that the action is more properly litigated in the federal court of his or her

16 domicile. Because Plaintiff is amenable to litigating the matter in either forum,

17 this suit was initiated.

18                                Jurisdiction and Venue
19          7.   This is a civil action seeking damages under the United States
20 Copyright Act of 1976, as amended, 17 U.S.C. §§ 101 et seq. (the “Copyright

21 Act”).

22          8.   This Court has subject matter jurisdiction over this action pursuant to
23 28 U.S.C. § 1331 (federal question); and 28 U.S.C. § 1338 (jurisdiction over

24 copyright actions).

25          9.   This Court has personal jurisdiction over Defendant because
26 Defendant used an Internet Protocol address (“IP address”) traced to a physical

27 address located within this District to commit copyright infringement. Therefore:

28 (i) Defendant committed the tortious conduct alleged in this Complaint in this
                                                2

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 1 State; and, (ii) Defendant resides in this State and/or; (iii) Defendant has engaged

 2 in substantial – and not isolated – business activity in this State.

 3         10.   Plaintiff used IP address geolocation technology by Maxmind Inc.
 4 (“Maxmind”), an industry-leading provider of IP address intelligence and online

 5 fraud detection tools, to determine that Defendant’s IP address traced to a physical

 6 address in this District. Over 5,000 companies, along with United States federal

 7 and state law enforcement, use Maxmind’s GeoIP data to locate Internet visitors,

 8 perform analytics, enforce digital rights, and efficiently route Internet traffic.

 9         11.   To ensure that Defendant’s IP address accurately traced to this
10 District, Plaintiff inputted Defendant’s IP address into Maxmind’s GeoIP database

11 twice: first when it learned of the infringement and again, just prior to filing this

12 lawsuit.

13         12.   Pursuant to 28 U.S.C. § 1391(b) and (c), venue is proper in this
14 district because: (i) a substantial part of the events or omissions giving rise to the

15 claims occurred in this District; and, (ii) the Defendant resides (and therefore can

16 be found) in this District and resides in this State. Additionally, venue is proper in

17 this District pursuant 28 U.S.C. § 1400(a) (venue for copyright cases) because

18 Defendant or Defendant’s agent resides or may be found in this District.

19                                          Parties
20         13.   Plaintiff, Strike 3 is a Delaware limited liability company located at
21 2140 S. Dupont Hwy, Camden, DE.

22         14.   Plaintiff currently can only identify Defendant by his or her IP
23 address. Defendant’s IP address is 71.92.216.147. Defendant’s name and address

24 can be provided by Defendant’s Internet Service Provider.

25                                  Factual Background
26                        Plaintiff’s Award-Winning Copyrights
27         15.   Strike 3’s subscription based websites proudly boast a paid
28 subscriber base that is one of the highest of any adult-content sites in the world.
                                                3

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 1 Strike 3 also licenses its motion pictures to popular broadcasters and Strike 3’s

 2 motion pictures are the number one selling adult DVDs in the United States.

 3          16.    Strike 3’s motion pictures and websites have won numerous awards,
 4 such as “best cinematography,” “best new studio,” and “adult site of the year.”

 5          17.    Strike 3’s motion pictures have had positive global impact, leading
 6 more adult studios to invest in better content, higher pay for performers, and to

 7 treat each performer with respect and like an artist.

 8          18.    Unfortunately, Strike 3, like a large number of other makers of
 9 motion picture and television works, is plagued by Internet piracy. Often
10 appearing among the most infringed popular entertainment content on torrent

11 websites, Strike 3’s motion pictures are among the most pirated content in the

12 world.

13                Defendant Used the BitTorrent File Distribution Network
14                               to Infringe Plaintiff’s Copyrights
15          19.    BitTorrent is a system designed to quickly distribute large files over
16 the Internet. Instead of downloading a file, such as a movie, from a single source,

17 BitTorrent users are able to connect to the computers of other BitTorrent users in

18 order to simultaneously download and upload pieces of the file from and to other

19 users.

20          20.    BitTorrent’s popularity stems from the ability of users to directly
21 interact with each other to distribute a large file without creating a heavy load on

22 any individual source computer and/or network.              It enables Plaintiff’s motion
23 pictures, which are often filmed in state of the art 4kHD, to be transferred quickly

24 and efficiently.

25          21.    To share a movie within the BitTorrent network, a user first uses
26 BitTorrent software to create a .torrent file from the original digital media file. This

27 process breaks the original digital media file down into numerous pieces.

28          22.    The entire movie file being shared has a hash value (i.e., the “File
                                                 4

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 1 Hash”). A hash value is an alpha-numeric value of a fixed length that uniquely

 2 identifies data.

 3         23.    Hash values are not arbitrarily assigned to data merely for
 4 identification purposes, but rather are the product of a cryptographic algorithm

 5 applied to the data itself. As such, while two identical sets of data will produce the

 6 same cryptographic hash value, any change to the underlying data – no matter how

 7 small – will change the cryptographic hash value that correlates to it.

 8         24.    To find and re-assemble the pieces of the digital media file, i.e., to
 9 download the file using BitTorrent, a user must obtain the .torrent file for the
10 specific file that has been broken down into pieces.

11         25.    Each .torrent file contains important metadata with respect to the
12 pieces of the file. When this data is put into the cryptographic algorithm, it results

13 in a hash value called the “Info Hash.”

14         26.    The “Info Hash” is the data that the BitTorrent protocol uses to identify
15 and locate the other pieces of the desired file (in this case, the desired file is the

16 respective file for the infringing motion pictures that are the subject of this action)

17 across the BitTorrent network.

18         27.    Using the Info Hash in the metadata of a .torrent file, a user may collect
19 all the pieces of the digital media file that correlates with the specific .torrent file.

20         28.    Once a user downloads all of the pieces of that digital media file from
21 other BitTorrent users, the digital media file is automatically reassembled into its

22 original form, ready for playing.

23         29.    Plaintiff has developed, owns, and operates an infringement detection
24 system, named “VXN Scan.”

25         30.    Using VXN Scan, Plaintiff discovered that Defendant used the
26 BitTorrent file network to illegally download and distribute Plaintiff’s copyrighted

27 motion pictures.

28         31.    To explain, while Defendant was using the BitTorrent file distribution
                                                 5

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 1 network, VXN Scan established direct TCP/IP connections with Defendant’s IP

 2 address.

 3          32.   VXN Scan downloaded from Defendant one or more pieces of
 4 numerous digital media files.

 5          33.   Plaintiff identified these pieces as portions of infringing copies of
 6 Strike 3’s motion pictures.

 7          34.   To explain, the VXN Scan system first searched for and obtained
 8 .torrent files claiming to be infringing copies of Plaintiff’s works, and then

 9 downloaded complete copies of the digital media files that correlate to those .torrent
10 files.

11          35.   Plaintiff then compared the completed digital media files to Plaintiff’s
12 copyrighted works to determine whether they are infringing copies of one of

13 Plaintiff’s copyrighted works.

14          36.   The digital media files have been verified to contain a digital copy of
15 a motion picture that is identical (or, alternatively, strikingly similar or substantially

16 similar) to Plaintiff’s corresponding original copyrighted Works.

17          37.   VXN Scan then used the “Info Hash” value, contained within the
18 metadata of the .torrent file correlated with a digital media file that was determined

19 to be identical (or substantially similar) to a copyrighted work, to download a piece

20 (or pieces) of the same digital media file from Defendant using the BitTorrent

21 network.

22          38.   At no point did VXN Scan upload content to any BitTorrent user.
23 Indeed, it is incapable of doing so.

24          39.   The VXN Scan captured transactions from Defendant sharing specific
25 pieces of 111 digital media files that have been determined to be identical (or

26 substantially similar) to a copyrighted work(s) that Plaintiff owns.

27          40.   VXN Scan recorded each transaction in a PCAP file.
28          41.   VXN Scan recorded multiple transactions in this matter.
                                                 6

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 1         42.   For each work infringed a single transaction is listed on Exhibit A.
 2         43.   For each transaction listed, Exhibit A sets forth the Universal Time
 3 Coordinated (UTC) time and date of each transaction, along with (1) the Info Hash

 4 value obtained from the metadata of the corresponding .torrent file that formed the

 5 basis of the VXN Scan’s request for data , and (2) the File Hash value of the digital

 6 media file itself.

 7         44.   Exhibit A also sets forth relevant copyright information for each work
 8 at issue: the date of publication, the date of registration, and the work’s copyright

 9 registration number. In a showing of good faith, Plaintiff has intentionally omitted
10 the title of the work from this public filing due to the adult nature of its content, but

11 can provide a version of Exhibit A containing the works’ titles to the Court or any

12 party upon request.

13         45.   Thus, Defendant downloaded, copied, and distributed Plaintiff’s
14 Works without authorization.

15         46.    Defendant’s infringement was continuous and ongoing.
16         47.   Plaintiff owns the copyrights to the Works and the Works have been
17 registered with the United States Copyright Office.

18         48.   Plaintiff seeks statutory damages, attorneys’ fees, and costs under 17
19 U.S.C. § 501 of the United States Copyright Act.

20                                         COUNT I
21                              Direct Copyright Infringement
22         49.   The allegations contained in paragraphs 1-48 are hereby re-alleged as
23 if fully set forth herein.

24         50.   Plaintiff is the owner of the Works, which are each an original work
25 of authorship.

26         51.   Defendant copied and distributed the constituent elements of
27 Plaintiff’s Works using the BitTorrent protocol.

28         52.   At no point in time did Plaintiff authorize, permit or consent to
                                                 7

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 1 Defendant’s copying, distribution, performance and/or display of its Works,

 2 expressly or otherwise.

 3         53.   As a result of the foregoing, Defendant violated Plaintiff’s exclusive
 4 right to:

 5         (A)   Reproduce its Works in copies, in violation of 17 U.S.C. §§ 106(1)
 6 and 501;

 7         (B)   Distribute copies of the Works to the public by sale or other transfer
 8 of ownership, or by rental, lease or lending, in violation of 17 U.S.C. §§ 106(3)

 9 and 501;
10         (C)   Perform the copyrighted Works, in violation of 17 U.S.C. §§ 106(4)
11 and 501, by showing the Works’ images in any sequence and/or by making the

12 sounds accompanying the Works’ audible and transmitting said performance of

13 the work, by means of a device or process, to members of the public capable of

14 receiving the display (as set forth in 17 U.S.C. § 101’s definitions of “perform”

15 and “publicly” perform); and

16         (D)   Display the copyrighted Works, in violation of 17 U.S.C. §§ 106(5)
17 and 501, by showing individual images of the works non-sequentially and

18 transmitting said display of the works by means of a device or process to members

19 of the public capable of receiving the display (as set forth in 17 U.S.C. § 101’s

20 definition of “publicly” display).

21         54.   Defendant’s infringements were committed “willfully” within the
22 meaning of 17 U.S.C. § 504(c)(2).

23         WHEREFORE, Plaintiff respectfully requests that the Court:
24         (A)   Permanently enjoin Defendant from continuing to infringe Plaintiff’s
25 copyrighted Works;

26         (B)   Order that Defendant delete and permanently remove the digital
27 media files relating to Plaintiff’s Works from each of the computers under

28 Defendant’s possession, custody or control;
                                               8

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 1         (C)   Order that Defendant delete and permanently remove the infringing
 2 copies of the Works Defendant has on computers under Defendant’s possession,

 3 custody or control;

 4         (D)   Award Plaintiff statutory damages per infringed work pursuant to
 5 17 U.S.C. § 504(a) and (c);

 6         (E)   Award Plaintiff its reasonable attorneys’ fees and costs pursuant to
 7 17 U.S.C. § 505; and

 8         (F)   Grant Plaintiff any other and further relief this Court deems just and
 9 proper.
10                           DEMAND FOR A JURY TRIAL
11         Plaintiff hereby demands a trial by jury on all issues so triable.
12         DATED this 29th day of May, 2020.
13                                           Law Offices of Lincoln Bandlow, PC
14                                           s/ Lincoln D. Bandlow
                                             Lincoln D. Bandlow
15                                           Attorney for Plaintiff
                                             Strike3 Holdings, LLC
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